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EXHIBIT 4

 
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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

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THE CITY OF HUNTINGTON,
Plaintiff,

Vs. CIVIL ACTION
NO. 3:17-01362
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,
Defendants.

 

CABELL COUNTY COMMISSION,
Plaintiff,
vs. CIVIL ACTION
NO. 3:17-01665
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

Defendants.

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Videotaped and videoconference deposition
of DARLA BENTLEY taken by the Defendants under the
Federal Rules of Civil Procedure in the above-
entitled action, pursuant to notice, before Teresa
S. Evans, a Registered Merit Reporter, at the
Mountain Health Arena, One Civic Center Plaza,
Huntington, West Virginia, on the 17th day of July,
2020.

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Q. Yes, ma'am.
A. I'm gonna say probably 15 years ago or so.
Ox And what did you learn about prescription
Opioids when you first learned about them?
A. I didn't learn much. All I know is that I

had family members and friends who were prescribed
Opioids for various medical issues.

Q. Do you have an understanding of what
prescription opioids were prescribed for for those
individuals? In other words, to treat what sort of
issue?

A. Most likely pain.

Q: And do you know whether the prescription
opioids that were prescribed to your family and
close friends helped with those folks' pain?

MS. DEYNEKA: Object to form.

Rix I can't speak to that.

0. Do you know whether any of the family
members or close friends who you testified received
prescription opioids became addicted to
prescription opioids?

A. Yes.

MS. DEYNEKA: Object to form.

QO. And who, in particular, are you thinking of

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that became addicted to prescription opioids based
on your understanding?

A. Well, my brother, for one.

Oy And approximately when did your brother
become addicted to prescription opioids, ma'am?

A. I couldn't answer to that. I'm not sure
when, at what point.

Q. And do you -- do you know whether your
brother used other substances in addition to
prescription opioids? And I apologize for the
personal nature of the question. Of course, as you
know, the case is about prescription opioids, and
so it's important to understand how possible
witnesses that may be called by either side at
trial may have a connection or an understanding of
various opioids, so that --

I apologize, but that's the
Significance of the question. So let me restate
the question now. Are you aware of whether your
brother used other substances aside from
prescription opioids?

A. Not to my knowledge.

OD And is your brother currently addicted to

prescription opioids as you understand it?

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A. No, my brother passed away when he was 56.
Ox I'm very sorry to hear that, Ms. Bentley.
And did your brother pass away from something you
believe was related to opioids?
MS. DEYNEKA: Object to form.

And Ms. Bentley, I counsel you to
respond to these questions only as much as you feel
comfortable discussing this.

A. Yes.

O « And Ms. Bentley, when did your brother pass
away?

A. May of 2017.

Q. Now, Ms. Bentley -- and I hope this will be
my last question on this topic, so I'm doing my
best to keep it short.

Do you know whether your brother took

the prescription medication as it was prescribed to

him?
MS. DEYNEKA: Object to form.
A. As far as I know, he did. I have no -- I
have no -- no -- I can't answer exactly. I mean,

as far as I know, he did, yes.
Q. Is it fair to say, Ms. Bentley, you're not

a medical doctor?

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A. Yes.
Q. And it's fair to say then you're not
licensed to practice medicine in West Virginia or

anywhere else, right?

A. Right.

Q.. And is it also fair to say you're not a
pharmacist?

A. Yes.

O's And let me -- you're not licensed to fill

prescriptions for a patient, right?

Ae Correct.

Os And you've never worked for the United
States Drug Enforcement Agency or DEA, right?

A. Correct.

0. And you've never worked for the West
Virginia Board of Pharmacy either, right?

A. Correct.

Q. And you've never worked for the United
States Food and Drug Administration, right?

A. Correct.

0. So is it fair to say you're not an expert
in determining when it might be appropriate to
prescribe opioids to a patient?

A. Correct.

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